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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

                           Plaintiff,

              vs.                               CRIMINAL NO. ZI'C£.z,o/i^l,SP/1-j
JAYLAN D. QUINN,

                           Defendant.


                                  PLEA AGREEMENT


      The attorneys for the United States and the attorneys for the Defendant have

engaged in discussions and have reached an agreement, pursuant to Federal Rule of

Criminal Procedure 11(c)(1)(C). The terms are as follows:

                                    1. Introduction


      1.     The Defendant understands that the Court did not participate in the

negotiation of this Plea Agreement. The Court may accept or reject this agreement and

its terms, or may defer its decision as to the acceptance or rejection until there has been

an opportunity to consider a presentence report pursuant to Rule 11(c)(3)(A). The

Defendant will not be able to withdraw his pleas of guilty themselves once entered and

accepted, except as provided under Federal Rule of Criminal Proceciure 11(d)(2).

                          II. Charges, Penalties, and Elements

      1.     Defendant understands the charges against him contained in the

hiformation which are as follows:


             Count 1:      Bank Robbery
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